Case 4:20-cv-00447-ALM Document 112-12 Filed 04/08/23 Page 1 of 4 PageID #: 4237




                              Exhibit 12
          Case
3/26/23, 10:20 PM 4:20-cv-00447-ALM     Document 112-12Yahoo
                                                         Filed
                                                             Mail 04/08/23       Page 2 of 4 PageID #: 4238
                                                                  - Re: Huddleston




     Re: Huddleston

     From: Ty Clevenger (tyclevenger@yahoo.com)

     To:      andrea.parker@usdoj.gov

     Date: Monday, January 16, 2023 at 05:51 PM EST



     Andrea,

     Sorry for the string of emails today. Someone contacted me this afternoon and said she
     was repeatedly contacted by the Twitter handle @Whispertech, whom she believed was
     either a confidential informant or an employee of the FBI, regarding Seth Rich. I have no
     knowledge one way or another, but it raises an important question. Given the large
     volume of data that the FBI automatically excludes from FOIA searches, is it possible
     that records pertaining to "Russian collusion" or Seth Rich were created (1) by
     confidential informants or (2) FBI personnel who were in routine contact with Twitter
     and other social media companies?

     Is information to / from / about confidential informants automatically excluded from
     FOIA? Likewise, would the FBI's communications with social media companies (per URL
     below) have been included in the search indices? Any such records would be covered by
     our existing FOIA requests. Please relay to the FBI and ask if they have searched these
     potential avenues. Thanks again.

     Ty




       On Monday, January 16, 2023 at 01:07:15 PM CST, Ty Clevenger <tyclevenger@yahoo.com> wrote:


       One more thing... given what has been revealed in the "Twitter Files" over the last few
       weeks (see, e.g., URL below) we also would like to subpoena Google, Twitter,
       Facebook, and perhaps other social media. In that case, we would be requesting
       actual records, e.g., about efforts by the FBI to influence discussions of Seth Rich /
       Russian hacking. Please let me know whether FBI will oppose. Thanks again.

       https://www.realclearpolitics.com/video/2023/01/15/taibbi_on_twitter_files_weve_di
       scovered_a_public-private_censorship_bureaucracy.html


       On Monday, January 16, 2023 at 12:53:48 PM CST, Ty Clevenger <tyclevenger@yahoo.com> wrote:


       Andrea,

       I'm planning to file a motion to permit discovery. I want to depose CrowdStrike and
       MPD via written questions for the following: (1) what evidence (e.g., phones or


about:blank                                                                                                   1/3
          Case
3/26/23, 10:20 PM 4:20-cv-00447-ALM    Document 112-12Yahoo
                                                        Filed
                                                            Mail 04/08/23       Page 3 of 4 PageID #: 4239
                                                                 - Re: Huddleston


       electronic data) was provided to the FBI and when; and (2) what communications
       about Seth Rich / Russian collusion were sent to the FBI and when.

       I don't plan to ask for records from either CrowdStrike or MPD, only a description of
       what was provided and when. Please let me know if FBI will oppose. Thank you.

       Ty



       On Wednesday, January 11, 2023 at 02:22:07 PM CST, Ty Clevenger <tyclevenger@yahoo.com> wrote:


       Andrea,

       I have another question regarding the work laptop, specifically about the report
       described in Paragraph 15 of the Seidel's sixth declaration. We would like to know
       whether the report was produced by a private entity such as CrowdStrike.

       If the report was produced by Crowdstrike, then it would be covered by my specific
       request for records from Crowdstrike, and it should be included in the FBI's
       forthcoming supplemental motion for summary judgment. Either way, please ask the
       FBI if it is willing to disclose whether the report came from a private entity or
       government entity. That's an important distinction for purposes of briefing. Thank
       you.

       Ty


       On Tuesday, January 10, 2023 at 12:11:01 PM CST, Ty Clevenger <tyclevenger@yahoo.com> wrote:


       Andrea,

       Did you hear anything from the FBI about this (below) or our request for records
       about geolocation data? We also have a question for the DOJ / Office of Special
       Counsel, namely whether it received copies of the three-page report about the work
       laptop. Please ask DOJ to double-check whether it received any records about the
       work laptop or personal laptop (beyond what already has been disclosed).

       In his report, Special Counsel Robert Mueller said there was no evidence that Seth
       Rich played a role in the 2016 DNC email leak. We are looking for records that would
       indicate whether anything (e.g., the three-page report) was withheld from Mr.
       Mueller.

       Finally, we believe the FBI has additional communications / records that it
       exchanged with the Metropolitan Police Department regarding Seth Rich. Please ask
       the FBI to search for any such records or communications. I plan to ask the court to
       permit a deposition on written questions to the MPD, namely to determine what



about:blank                                                                                                  2/3
          Case
3/26/23, 10:20 PM 4:20-cv-00447-ALM   Document 112-12Yahoo
                                                       Filed
                                                           Mail 04/08/23       Page 4 of 4 PageID #: 4240
                                                                - Re: Huddleston


       records or items (e.g., cell phones) were provided to the FBI. I suspect your clients will
       oppose, but please let me know. Many thanks.

       Ty



       On Wednesday, December 28, 2022 at 03:38:42 PM CST, Ty Clevenger <tyclevenger@yahoo.com> wrote:


       Andrea,

       As you may recall, I wrote earlier to ask whether the FBI had other electronic devices
       that belonged to Seth Rich (e.g., cell phones), and the FBI indicated that it had none. I
       have attached an article published by one of my clients, and it contains copies of
       reports from the Metropolitan Police Department. One of those reports refers to Seth's
       cell phone.

       It is obviously possible that MPD never shared the cell phone or its contents with the
       FBI. Nonetheless, in light of the fact that the FBI only recently discovered a report
       about the work laptop, please ask the FBI to do what it did with respect to the work
       laptop, i.e., contact the agents who were involved in the case. Alternatively, the FBI
       might search its email systems and search using any code names. Many thanks.

       BTW, in our motion for reconsideration, I plan to emphasize the fact that Mr. Seidel
       has never addressed a core question, namely whether the FBI searched according to
       code names as well as actual names.

       Ty




about:blank                                                                                                 3/3
